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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
  TEVON THOMAS, et al.,

                                        Plaintiff,

                     -against-                                   14 CV 7513 (ENV) (VMS)

  CITY OF NEW YORK,                                              Date of Service: July 3, 2017

                                         Defendants.
  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X




             PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
         THE MOVING PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT




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                               PRELIMINARY STATEMENT

          Plaintiffs Ravin Cox, Matthew Nelson, Billy Hippolyte, and Gary Jeanty (the “Moving

  Plaintiffs”) respectfully submit this Memorandum of Law in support of their motion for

  summary judgment pursuant to Fed. R. Civ. P. 56, and hereby incorporate the accompanying

  Local Rule 56.1 Statement of Facts, as well as the declaration of counsel and the exhibits

  submitted therewith, and the pleadings and materials previously filed in this action.

          Plaintiff Cox is moving for summary judgment as to his claims of false arrest, denial

  of a fair trial, and malicious prosecution, against the individual defendants Ortiz, Russo,

  Carretta, and Marcus. He is not asserting a claim against defendant Skelton. Plaintiffs

  Nelson, Hippolyte, and Jeanty, are moving for summary judgment on their claim for false

  arrest against the individual defendants Ortiz, Russo, Carretta, and Marcus. They are not

  asserting a claim against defendant Skelton. The Moving Plaintiffs have not asserted any state

  law claims, have withdrawn their Monell claim, and have no other claims outstanding in this

  litigation.

          For the reasons set forth herein, the Moving Plaintiffs are entitled to summary

  judgment on their claims against these individual defendants as a matter of law, and should

  be permitted to proceed to a trial on damages.
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                                   STATEMENT OF FACTS

         On May 15, 2014, members of the NYPD’s Brooklyn South Gang Squad (“BSGS”)

  executed a search warrant at a three-family home located at 641 East 59 Street in Brooklyn,

  New York (the “Premises”). Defendants Russo, Carretta, and Marcus, were, as of that date,

  the Captain, Lieutenant, and Sergeant, that were overseeing the BSGS officers on duty that

  day, including defendant Ortiz. The warrant authorized the entry into the First Floor and

  Basement Apartments of the Premises. The BSGS officers utilized the NYPD’s Emergency

  Services Unit (“ESU”) to make the initial entry into the units. ESU’s role was to enter and

  secure the apartments by seizing the occupants inside. It was only after the Premises were

  secured and the occupants seized that the BSGS members would enter the apartment and

  conduct the court-authorized search. All decisions as to whether to arrest any of the

  occupants inside the Premises were left to the BSGS officers. (See the Moving Plaintiffs’

  Statement of Facts pursuant to Local Rule 56.1 [“Pltfs’ LR 56.1”] at ¶¶ 15-21).



                              The Arrest and Prosecution of Ravin Cox

         Ravin Cox was sitting in the front room of the First Floor Apartment when ESU

  entered. The apartment contained 13 people, not including the NYPD members, and was

  crowded. He was immediately seized and handcuffed in that front room. The officers began

  moving some of the handcuffed occupants around as they moved through the unit. Cox was

  dragged from the front room to a bedroom across the hall from a bathroom. (Plfts’ LR 56.1

  at ¶¶ 34, 39, 41-45, 50).


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         Some time later, the ESU officers were replaced by the BSGS officers, including the

  defendants other than Skelton. Defendants Russo and Ortiz encountered a handcuffed Cox

  in the bedroom where ESU had moved him. They searched the room and Ortiz claims to

  have found a loaded handgun on a shelf inside a closet in the bedroom. The only reason

  Cox was in the bedroom in the first place was because an ESU officer moved him there after

  seizing him in the front room. The ESU officers executed a report that identified which

  persons were found in each room. That form indicated that none of the individuals in the

  First Floor Apartment were found in the bedroom where Ortiz found the handgun. (Plfts’

  LR 56.1 at ¶¶ 41-45, 51-52, 54-59; See also Plaintiffs’ Exhibit 9).

         According to the arrest report created by the defendants, Cox was arrested for the

  possession of the handgun, as well as possession of marijuana, and at least one gambling

  related offense. This paperwork was promptly provided to the KCDA by Ortiz, who met

  personally with prosecutors to discuss the details of the warrant execution and the arrests in

  order to assist the KCDA in their determination as to who to charge and what crimes to

  charge. Ortiz told the KCDA that Cox was found in the bedroom where the handgun was

  found. He has further admitted that he charged Cox with the gun (and nobody else) because

  of Cox’s presence in that bedroom. (Plfts’ LR 56.1 at ¶¶ 56-59; Plaintiffs’ Exhibits 14-16).

         Notably, no marijuana was actually recovered anywhere in the apartment (although

  some was recovered in the Basement Apartment). Moreover, as Captain Russo, who was the

  highest ranking supervisory officer on the scene, has admitted that (a) the defendants did not

  know who, if anyone, had been gambling in the unit, and (b) any such gambling in the


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  apartment would not have been illegal. It is therefore not surprising that Cox was only

  charged with possession of the handgun. (Plfts’ LR 56.1 at ¶¶ 63-67).

            Bail was set at arraignment in the amount of $5,000. Unable to post bail, Cox was

  jailed immediately thereafter. He was released on May 21, 2014, which was the date of the

  next court appearance. It was at that same appearance that all three weapons charges against

  Cox were dismissed. (Plfts’ LR 56.1 at ¶¶ 70-73).



                                         The Outside Arrests

            Plaintiffs Nelson, Hippolyte, and Jeanty were in the vicinity of the Premises on the

  night of the arrest, although they never went inside the building, much less either of the

  apartments identified in the search warrant. When the NYPD arrived, they encountered

  these three plaintiffs (the “Outside Plaintiffs”) outside of the premises and immediately

  seized and handcuffed these three men. Nelson was behind the Premises at the far back wall,

  while Hippolyte and Jeanty were in the process of leaving the rear area. (Plfts’ LR 56.1 at ¶¶

  74-78).

            The Outside Plaintiffs were seized, handcuffed, and searched. None of the Outside

  Plaintiffs were found in possession of any contraband or engaged in any criminal conduct.

  They were held outside the premises for a period of time that the plaintiffs have estimated as

  between one to four hours. While defendant Russo speculated that it was 30 minutes or less,

  it is beyond dispute that Outside Plaintiffs were kept handcuffed after ESU began the entry,

  and after ESU finished securing the premises, and after ESU left the scene. It was then, at


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  some later point in time, that Russo directed his officers to release the Outside Plaintiffs

  from custody. The defendants made no record of this seizure, although Russo acknowledges

  that records, such as Stop and Frisk Reports, should have been created. (Plfts’ LR 56.1 at ¶¶

  80-84 ).



                                       The Basement Arrests

         Numerous individuals were also seized by ESU officers in the Basement Apartment,

  including multiple plaintiffs in both of these consolidated actions. All of these plaintiffs were

  then formally arrested by the BSGS officers and defendants, and later arraigned and charged.

  Some were jailed after arraignment, others were not. None of these plaintiffs, at least those

  represented by counsel for the Thomas plaintiffs, are moving for summary judgment. The

  defendants have given every indication that they will move for summary judgment with

  respect to these (and all the other) arrests. The Basement Plaintiffs will reserve their

  statements and arguments for their opposition to any such motion by defendants.




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                                     STANDARD OF REVIEW

          A court must grant a motion for summary judgment where “the movant shows that

  there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

  matter of law.” Fed. R. Civ. P. 56(a). Summary judgment is appropriate when the evidence,

  viewed in the light most favorable to the non-movant, presents no genuine issue of material

  fact. Id.; see also Cifarelli v. Village of Babylon, 93 F.3d 47, 5l (2d Cir. 1996). An issue of fact “is

  material if it might affect the outcome of the suit under governing law.” Fincher v. Depository

  Trust & Clearing Corp., 604 F.3d 712, 720 (2d Cir. 2010); see also Kinsella v. Rumsfeld, 320 F.3d

  309, 311 (2d Cir. 2003). “Where the record taken as a whole could not lead a rational trier of

  fact to find for the nonmoving party, there is no genuine issue for trial.” Matsushita Elec.

  Indus. Co. v. Zenith Radio Com., 475 U.S. 574, 587 (1986); see also Brod v. Omya, Inc., 653 F.3d

  156, 164 (2d Cir. 2011).

          To survive summary judgment, the non-moving party must produce evidence to

  support his case and “may not rely simply on conclusory statements or on contentions that

  the affidavits supporting the motion are not credible.” Ying Jing Gan v. City of New York, 996

  F.2d 522, 532 (2d Cir. 1993). Further, evidence that is “merely colorable or not significantly

  probative” is insufficient to defeat a motion for summary judgment. Lane Capital Mgmt., Inc.

  v. Lane Capital Mgmt., Inc., 192 F.3d 337, 346 (2d Cir. 1999).




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                                           ARGUMENT

                                              POINT I

                 PLAINTIFF COX HAS ESTABLISHED THAT HE WAS
                 ARRESTED WITHOUT PROBABLE CAUSE AND IS
                 THEREFORE ENTITLED TO SUMMARY
                 JUDGMENT ON HIS CLAIM FOR FALSE ARREST

         The defendants’ arrest of Ravin Cox for gun possession, marijuana possession, and

  promoting gambling, was wholly without probable cause and thus Cox is entitled to

  summary judgment against the four individual defendants, each of whom participated in, and

  agreed to Cox’s arrest. To lawfully place a person under arrest, the arresting officer must

  possess facts sufficient to warrant a prudent person to believe that the suspect had

  committed or was committing an offense. Posr v. Court Officer Shield #207, 180 F.3d 409, 417

  (2d Cir.1999); Ricciuti v. N.Y.C. Transit Auth., 124 F.3d 123, 128 (2d Cir. 1997) (citing Gerstein

  v. Pugh, 420 U.S. 103, 111 (1975)); O’Neill v. Town of Babylon 986 F.2d 646, 650 (2d Cir. 1993).

         Here, there was no marijuana and Russo has openly acknowledged both that

  defendants’ lacked personal knowledge as to whether Cox, or anyone else in the First Floor

  Apartment, was involved in gambling, and, in any event, that such conduct was not unlawful.

  Hence, the salient question is whether defendants could arrest Cox for the handgun found in

  the bedroom under the circumstances. The answer to that is plainly no, as was made clear

  several days later when the KCDA chose to dismiss all of the charges rather than present the

  case to a grand jury.

         As set forth below, the defendants were well aware that ESU had entered a crowded

  apartment, seized, and likely moved the occupants around prior to the defendants’ entry.

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  That Cox was present in the bedroom solely by post-seizure happenstance was something

  the defendants knew or should have known, and they had no basis to believe that he had the

  slightest idea that the handgun was in the room where he was placed, much less that

  possessed the handgun, had custody, control, or dominion over the handgun.



  A.     Defendants Lacked Probable Cause to Arrest
         Ravin Cox For the Handgun in the Closet

         It is well settled that under New York law, a person “constructively possesses tangible

  property when he exercises ‘dominion and control’ over the property with a sufficient level

  of control over the area in which the contraband is found.” Davis v. City of N.Y., 2007 WL

  755190, at *5 (E.D.N.Y. Feb. 15, 2007) (quoting Torres v. Hanslmaier, 1995 U.S. Dist. LEXIS

  6193, at *6-7, (S.D.N.Y. May 8, 1995); citing Cammick v. City of New York, 1998 U.S. Dist.

  LEXIS 18006, at *7 (S.D.N.Y. Nov. 17, 1998)). In this circuit, mere co-residency in a

  residence where contraband is found is insufficient to establish probable cause. Rather,

  “those who are permitted to observe obvious criminal activity in a home are, absent

  indications to the contrary, likely to be complicit in the offense.” Caraballo v. City of N.Y., 526

  F. App'x 129, 131 (2d Cir. 2013) (emphasis in original) quoting United States v. Heath, 455

  F.3d 52, 57 (2d Cir.2006)).

         In this case, Cox was not a resident of the First Floor Apartment and thus his mere

  presence in the apartment did not provide a basis for his arrest for the handgun. Rather,

  defendants relied entirely upon Cox’s proximity to the closet in which the gun was found to

  charge Cox (and nobody else) for the gun.

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         However, it is clear that the defendants, at that moment that they entered the

  apartment and found a handcuffed Ravin Cox in the bedroom, knew that (i) ESU had

  encountered 13 people in a crowded apartment; (ii) ESU sometimes moved people they were

  seizing away from the place in the premises where they had been seized; and (iii) ESU had in

  fact moved at least some people within the premises. It was thus incumbent upon the

  defendants to confer with ESU with respect to Cox’s original location in the apartment

  before arresting him for the handgun in the bedroom closet to confirm that Cox had been

  found in that room, and not simply placed there after being seized elsewhere.

         Had the defendants done so, they would have been told that ESU had not found

  anyone in that bedroom. This is confirmed by ESU’s own paperwork, that shows that people

  in the First Floor Apartment were all seized in one of two rooms, neither of which was the

  bedroom where Cox was placed and later found by Ortiz and Russo.

         The defendants knew that determining this issue was an essential step in the arrest

  decision. Indeed, this was true not just for Cox but for all of the individuals seized

  throughout the premises who were not found in actual possession of a contraband. Put

  simply, the defendants knew full that the individuals they encountered throughout the

  apartment who were already in handcuffs, may have been moved to that location by ESU,

  which would negate any inferences that might otherwise be drawn if the person had been in

  that location voluntarily. It would be an easy matter to inquire of the ESU officers, either

  directly or by reviewing their paperwork, who had been found where.

         They either chose not to ask the ESU officers, which cannot be justified under these


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  circumstances, or worse, did ask the ESU officers and then proceeded with Cox’s arrest

  anyway. In either event, the defendants lacked a basis to arrest Cox for the possession of the

  handgun. To the extent that they may have deliberately ignored statements by ESU, such

  conduct would be material only to the degree to which punitive damages may be awarded,

  not to liability. Thus, Cox’s presence in the bedroom when the defendants replaced ESU in

  the apartment did not provide probable cause for his arrest.



  B.     Defendants Lacked Probable Cause to Arrest
         Ravin Cox For Possession of Marijuana                                    I

         While the arrest report defendants’ drafted states generally that Cox was also arrested

  for marijuana possession, there is no indication anywhere in the police records or anywhere

  else that Cox, or anybody else arrested in the First Floor Apartment, possessed marijuana, or

  that any marijuana was found anywhere inside the First Floor Apartment. Rather, it was

  gambling paraphernalia and the one handgun that was found in the First Floor Apartment,

  while two handguns and marijuana (but no gambling paraphernalia) were found in the

  Basement.

         That this is so is borne out by the KCDA’s detailed screening sheet, which was

  assembled based on Ortiz’s in-person interview during which he utilized his then-fresh

  memory and various notes and records. The screening sheet (Plaintiffs’ Exh. 16) establishes

  that the defendants were not claiming to have found Marijuana in the apartment. It is further

  confirmed by the criminal complaint then drafted by the KCDA (Plaintiffs’ Exh. 14), which

  omits any reference or charge relating to the marijuana.

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  C.     Defendants Lacked Probable Cause to Arrest
         Ravin Cox For any Gambling Offenses                                  I

         As Russo has expressly acknowledged, the defendants had no idea whether anybody

  inside the premises was actually involved in any gambling at the location, or whether any

  gambling was occurring in the first place. Moreover, Russo further admits that gambling in a

  residence is not illegal. (Plfts’ LR 56.1 at ¶¶ 62-67). All of which is to say the defendants

  lacked probable cause to arrest Cox for any gambling-related offense. That this is so is

  confirmed again by the KCDA’s decision not to charge Cox with any gambling offenses.



                                             POINT II

                 PLAINTIFF COX IS ENTITLED TO SUMMARY
                 JUDGMENT AGAINST DEFENDANTS FOR
                 MALICIOUS PROSECUTION AND THE DENIAL OF
                 THE RIGHT TO A FAIR TRIAL

         It is beyond dispute that the defendants communicated to the KCDA that Cox was

  arrested for the handgun based on his proximity to the closet where the gun was located.

  The defendants did not inform the KCDA that they were well aware that Cox was placed in

  the room only after he had been seized (or that they had deliberately failed to ascertain

  whether this was so) by ESU officers. In so doing, the defendants provided prosecutors with

  a falsified and misleading version of the surrounding facts, which was essential to the

  KCDA’s decision to charge Cox with possessing the handgun. This charge resulted in the

  setting of bail and Cox’s resultant incarceration. Plaintiff is therefore entitled to summary

  judgment on both of his post-arraignment causes of action.


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  A.      Defendants Denied Cox The Right to a Fair Trial

          The Second Circuit has recently discussed the contours of a fair trial claim, and

  outlined the three prongs of the cause of action as follows:

                  In order to succeed on a claim for a denial of the right to a fair
                  trial against a police officer based on an allegation that the
                  officer falsified information, an arrestee must prove by a
                  preponderance of the evidence that the officer created false
                  information, the officer forwarded the false information to
                  prosecutors, and the false information was likely to influence a
                  jury's decision. These requirements all provide necessary limits
                  on the reach of a denial of a fair trial claim based on false
                  information.

  Garnett v. Undercover Officer C0039, 838 F.3d 265, 279–80 (2d Cir. 2016) (citations omitted).

          There is no further materiality threshold, and, as the Court in Garnett stated, “any

  information fabricated by an officer can serve as the basis of a claim for a denial of the right

  to a fair trial.” Id., at 279 (emphasis in original). Accordingly, plaintiff's denial-of-fair-trial

  claim may proceed based solely on the false narrative of events that defendant Gatling

  created and communicated to prosecutorial authorities. See Id. at 280 (“Ricciuti's holding

  applies to falsified information contained in an officer's account of his or her observations of

  alleged criminal activity which he or she conveys to prosecutors.”); see also Struthers v. City of

  New York, 2013 WL 2390721, at *13 (E.D.N.Y. May 31, 2013) (statements made in a criminal

  court complaint can form the basis of a fair trial claim). These three elements are present

  here, as Gatling materially misstated the facts surrounding plaintiff’s arrest to prosecutors,

  who initiated plaintiff’s prosecution based entirely on Gatling’s allegations.

          It should also be noted that, “the Second Circuit has ‘consistently held that a


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  post-arraignment defendant who is obligated to appear in court in connection with criminal

  charges whenever his attendance is required suffers a Fourth Amendment deprivation of

  liberty.’” Gierlinger v. Town of Brant, 2015 WL 269131, at *5 (W.D.N.Y. Jan. 21, 2015) (quoting

  Swartz v. Insogna, 704 F.3d 105, 112 (2d Cir. 2013)); see also MacPherson v. Town of Southampton,

  2013 WL 6058202, *5 (E.D.N.Y. 2013) (“[T]he requirement that a plaintiff appear in court,

  post-arraignment, in connection with criminal proceedings, does constitute a Fourth

  Amendment seizure.”). Thus, courts uniformly find the deprivation of liberty element

  satisfied whenever the plaintiff was required during the course of his criminal prosecution to

  attend post-arraignment court appearances. See, e.g., Ricciuti v. New York City Transit Auth., 124

  F.3d 123, 127, 130 (2d Cir. 1997) (allowing claim to proceed where plaintiffs were required to

  appear in criminal court seven times during a two-month period, though the charges were

  later dismissed when the police officer failed to appear); Morse v. Spitzer, 2013 WL 359326, at

  *3 (E.D.N.Y. Jan. 29, 2013) (holding that a plaintiff “suffered a deprivation of liberty” when

  he “was required to make multiple court appearances”).

         In this case, the defendants’ account of Cox’s arrest created the false impresion that

  Cox was in the bedroom where the gun was found voluntarily. This fact might arguably

  permit an inference that Cox either placed the gun in the closet or knew that it was there and

  chose to remain alone in the room. This scenario was designed to convey Cox’s dominion

  and control over the gun. Yet, the defendants were aware that people throughout the

  premises had been moved from one location to another by ESU officers, and thus Cox may

  well have ended up alone in the bedroom precisely because that was where ESU moved him


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  after finding him in the crowded adjoining front room with numerous other people. This

  information was not conveyed to prosecutors. This omission is neither an incidental nor

  immaterial.

         Even if the defendant was to identify some slim thread of an alternative basis for

  plaintiff’s arrest, such probable cause would not save the defendants from summary

  judgment. It is well settled law that “probable cause is no defense to a denial of the right to a

  fair trial claim.” Garnett, 838 F.3d at 278. Thus, “[w]hen an officer supplies false information

  to a prosecutor about a suspect, the officer has violated that suspect's right to a fair trial,

  even if the officer had probable cause to arrest the accused.” Gomez v. The City of New York,

  185 F. Supp. 3d 299, 302 (E.D.N.Y. 2016) (quoting Abreu v. City of New York, 2006 WL

  401651, at *6 (E.D.N.Y. Feb. 22, 2006)).

         It is beyond dispute that defendants denied Cox the right to a fair trial by making

  these false allegations to prosecutors, and compounded matters by signing off on the

  criminal complaint grounded solely in this materially false and misleading statement of fact.

  Plaintiff was jailed for a number of days as a result. These undisputed facts establish that

  plaintiff is entitled to summary judgment on his denial of a fair trial claim.



  B.     Defendants Caused Cox to be Maliciously Prosecuted                                    I

         A claim for malicious prosecution under 42 U.S.C. § 1983, requires proof of four

  elements: (1) that the defendant commenced or continued a criminal proceeding against him;

  (2) that the proceeding was terminated in the plaintiff's favor; (3) that there was no probable


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  cause for the proceeding; and (4) that the proceeding was instituted with malice. Kinzer v.

  Jackson, 316 F.3d 139, 143 (2d Cir. 2003) (citing Singer v. Fulton County Sheriff, 63 F.3d 110,

  116-17 (2d Cir. 1995); Lowth v. Town of Cheektowaga, 82 F.3d 563, 571 (2d Cir. 1996) (citing

  Colon v. City of New York, 60 N.Y.2d 78, 82, 468, N.Y.S.2d 453, 455 N.E.2d 1248 ( 1983));

  Russell v. Smith, 68 F.3d 33, 36 (2d Cir. 1995)). The plaintiff easily satisfies all four criteria.

         Defendants cannot dispute that they brought about the initiation of Cox’s criminal

  prosecution or that it was terminated in Cox’s favor. As for the absence of probable cause,

  that is readily determined from the same facts as those that compel summary judgment on

  plaintiff’s false arrest claim. Finally, with respect to determining malice, the defendants’

  deliberate conduct and the absence of probable more than suffices to establish malice. It is

  well settled that “actual malice can be inferred when a plaintiff is prosecuted without

  probable cause.” Rentas v. Ruffin, 816 F.3d 214, 221–22 (2d Cir. 2016) (citing Manganiello v.

  City of N.Y., 612 F.3d 149, 163 (2d Cir.2010)). This holding echoed the Second Circuit’s

  plainly stated ruling thirteen years when it held that “[a] lack of probable cause generally

  creates an inference of malice.” Boyd v. City of N.Y., 336 F.3d 72, 78 (2d Cir. 2003). Here, the

  defendants deliberately mislead prosecutors with respect to Cox’s proximity to the handgun.

  Thus, both this conduct, and the absence of probable cause, demonstrate malice on the part

  of defendants.




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                                            POINT III

                PLAINTIFFS NELSON, HIPPOLYTE AND JEANTY
                WERE UNLAWFULLY SEIZED AND HELD IN
                VIOLATION OF THEIR RIGHTS UNDER THE
                FOURTH AMENDMENT AS A MATTER OF LAW

         The defendants had a valid search warrant that permitted them to enter two of the

  three apartments inside of 641 East 59 Street. It is undisputed that the Outside Plaintiffs

  were, by all accounts, found outside of the building altogether. Thus, absent some

  independent evidence of criminal conduct (which defendants have never alleged), there was

  no lawful basis to seize or detain them. Moreover, even if a momentary detention could be

  justified by the defendants’ desire to ensure that there was no interference with ESU’s initial

  entry into the building, the defendants had no right to hold the Outside Plaintiffs for more

  than the few minutes the entry would require, and certainly had no lawful authority to

  handcuff and detain them for the duration of the entry and subsequent search.

         In executing a search warrant, officers may take reasonable measures “to secure the

  premises and to ensure their own safety and the efficacy of the search,” L.A. County v. Rettele,

  550 U.S. 609, 614 (2007), which measures may include “detain[ing] occupants of the

  premises while a proper search is conducted.” Michigan v. Summers, 452 U.S. 692, 705 (1981);

  see also Id. at 702–03 (“The risk of harm to both the police and the occupants is minimized

  if the officers routinely exercise unquestioned command of the situation.”). The Supreme

  Court’s holding in Summers thus permits officers executing a search warrant to automatically

  “detain the occupants of the premises while a proper search is conducted.” Id. at 705. The

  detention in this context is justified as incident to the execution of a search warrant, much

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  like a search is when incident to a valid arrest, and as such does not require as a

  pre-condition that the officers have any sort of individualized suspicion. Muehler v. Mena, 544

  U.S. 93, 98 (2005) (“An officer’s authority to detain incident to a search is categorical; it does

  not depend on the 'quantum of proof justifying detention.”). Nonetheless, Summers’

  exception does not extend “beyond the immediate vicinity of the premises being searched.”

  Bailey v. United States, 133 S. Ct. 1031, 1042-43 (2013).

         Importantly, Summers involved the detention of an actual resident of the premises

  subject to the search warrant. Summers, 452 U.S. at 705 (“[I[t is constitutionally reasonable to

  require [a] citizen to remain while officers of the law execute a valid warrant to search his

  home.”). The weight of authority logically treats Summers’ exception as inapplicable to

  non-resident, non-occupants of the premises. Where, as here, the detained individuals are

  non-residents who were not inside the subject premises, their detention cannot be justified as

  incident to execution of the search warrant, and instead requires “a showing by the [officers]

  of particular facts and circumstances that ‘substantiate the legitimate law enforcement

  interests that support the warrantless seizure.’” Tindle v. Enochs, 2010 U.S. Dist. LEXIS

  136561, at *13–14 (E.D. Mich. Mar. 19, 2010) (citing, inter alia, United States v. Ridge, 329 F.3d

  535 (6th Cir. 2003)).

         Some jurisdictions limit Summers strictly to actual residents of the premises covered

  by the warrant. See, e.g., United States v. Reid, 997 F.2d 1576, 1579 (D.C. Cir. 1993) (“Unlike

  Summers, Reid was not a resident of the apartment which was to be searched under the

  warrant, and the trial did not disclose that he had any proprietary or residential interest in the


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  suspected premises.”), cert. denied, 510 U.S. 1132 (1994); State v. Carrasco, 711 P.2d 1231,

  1234 (Ariz. Ct. App. 1985) (reasoning that Summers does not apply to visitors); State v.

  Williams, 665 So. 2d 112, 115 (La. Ct. App. 1995) (finding Summers inapplicable because

  defendant “was not a resident of the house to be searched, nor was she even a known

  suspect”); People v. Burbank, 137 Mich. App. 266, 269 (1984) (per curiam) (distinguishing

  Summers on the ground that defendant “did not live in the house that the police were

  searching”), cert. denied, 469 U.S. 1190 (1985). Here, plaintiffs were not merely non-

  residents, they were not inside the premises in the first place and no detention of the Outside

  Plaintiffs, for any period of time, could be justified.

         But even with a more liberal reading of Summers, the defendants’ decision to handcuff

  and arrest the Outside Plaintiffs is indefensible. Courts taking a broader view might allow a

  visitor’s detention if the officers can articulate reasonably specific facts that associate a visitor

  found inside the premises with the residence or the criminal activity underlying the search

  warrant. See, e.g., Baker v. Monroe Township, 50 F.3d 1186, 1192 (3d Cir. 1995) (“Although

  Summers itself only pertains to a resident of the house under warrant, it follows that the police

  may stop people coming to or going from the house if police need to ascertain whether they

  live there.”); United States v. McEaddy, 780 F. Supp. 464, 471 (E.D. Mich. 1991) (holding that

  “‘occupant’ refers to any individual on the premises who, from the perspective of the

  executing officers at the scene, might reasonably have some relationship to the subject

  premises”); State v. Broadnax, 654 P.2d 96, 103 (Wash. 1982) (en banc) (requiring, to detain a

  visitor, facts additional to the visitor’s “mere presence” at the scene that associate him with


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  the illegal activities to be investigated); State v. Graves, 119 N.M. 89, 92 (N.M. Ct. App. 1994)

  (“The police cannot detain a nonresident unless they have a reasonable basis to believe that

  the non-resident has some type of connection to the premises or to criminal activity.”). Such

  a reading might justify the temporary detention of non-residents, but still requires that they

  actually be inside the premises.

         The broadest view of Summers would define an “occupant” in even more expansive

  terms to include any person visiting the premises to be searched. See, e.g., United States v. Pace,

  898 F.2d 1218, 1239 (7th Cir. 1990) (“At the very least, Summers’ analysis . . . applies to the

  detention of visitors.”); States v. Taylor, 716 F.2d 701, 707 (9th Cir. 1983) (“The Court clearly

  framed Summers in terms of ‘occupants,’ not owners.”).

         In this case, however, determining the appropriate breadth of the term “occupant” is

  a red herring. That is because the Outside Plaintiffs were never occupants of the premises in

  the first place. One case within the Second Circuit confirms the narrowness of Summers’

  exception. In Cabral v. City of New York, the court articulated a multi-factor test for

  determining whether an occupant may be detained under Summers within the “immediate

  vicinity” of the premises to be searched. Cabral v. City of New York, 2014 U.S. Dist. LEXIS

  131342, at *10 (S.D.N.Y. Sept. 17, 2014). According to Cabral, the reasonableness of the

  occupant’s detention is informed by “the lawful limits of the premises, whether the occupant

  was within the line of sight of his dwelling, the ease of reentry from the occupant’s location,

  and other relevant factors.” Id. The court not only found the detention to be unreasonable

  but also denied the officers’ qualified immunity defense, reasoning as follows:


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                 In light of the clearly established requirement that detentions
                 made pursuant to Summers be limited to the occupants of the
                 premises to be searched, no reasonable officer could have
                 believed that the detention of Plaintiff as he sat in a parked
                 vehicle on another block was justified by Summers.
                 Consequently, Defendant is not entitled to qualified immunity
                 under the Summers theory.

  Id. at *15–16. Even though the officers witnessed that “the person associated with the

  apartment being searched, had just entered the minivan in which Plaintiff was sitting,” and

  the vehicle was right “around the block from the apartment” subject to the search warrant,

  the court held that “any nexus between Plaintiff and the [occupant of the subject premises]

  was insufficient” to justify plaintiff’s detention. Id. at *9–10; see also United States v. Edwards,

  103 F.3d 90 (10th Cir. 1996) (declining to extend Summers to cases where the occupant has

  exited the premises subject to the search warrant and declaring unconstitutional the

  occupant’s detention as he was leaving his residence and heading to his car); United States v.

  Sherrill, 27 F.3d 344, 346 (8th Cir. 1994) (holding that “because [defendant] had left the area

  of the search” his stop and detention by the officers outside his residence was

  unconstitutional and outside the scope of Summers’ exception). And although some courts

  have upheld as reasonable the detention of persons found near, or in the course of exiting,

  the premises to be searched, in each such case the person detained was a recent occupant of

  the subject premises. Cabral, at*14; see also United States v. Fullwood, 86 F.3d 27 (2d Cir. 1996)

  (upholding the detention of the premises’ occupant found outside the premises to be

  searched and about to enter his vehicle).

         Finally, even if the seizure of the Outside Plaintiffs was initially lawful under the


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  circumstances, their continued detention beyond the few minutes needed to effectuate the

  purpose of their seizure (i.e., ESU’s entry into the premises and the securing of the two

  apartments) cannot be justified. That is to say, detentions that fall within the scope of

  Summers’ exception must still be reasonable under the Fourth Amendment, which is a strictly

  “objective” inquiry. Unreasonable actions in this context might include, for example, “the

  use of . . . restraints that cause unnecessary pain or are imposed for a prolonged and

  unnecessary period of time.” Rettele, 550 U.S. at 614; see also Muehler, 544 U.S. at 103 (“The

  use of handcuffs is the use of force and such force must be objectively reasonable under the

  circumstances.” (citing Graham v. Connor, 490 U.S. 386 (1989))). Both the length of the

  detention and the efforts of law enforcement officers to safely and quickly secure the

  premises are relevant in determining whether a detention is reasonable in the context of

  executing a search warrant of a premises. Summers, 452 U.S. at 705. The detention must be no

  longer than is necessary to effectuate the purpose thereof—which is to safely secure the

  premises and minimize the risk of harm to the officers executing the search warrant.

         It is plain that the defendants seized the Outside Plaintiffs because doing so was more

  convenient for the defendants, not because there was a necessary or lawful basis to do so. It

  is equally obvious that they then simply left them in handcuffs until Russo eventually issued

  the order to release them. Whether this was meant to be punitive or was simply an

  unthinking error, there is no dispute that the defendants’ conduct was deliberate, that it

  caused the Outside Plaintiffs to be arrested and that this seizure was unconstitutional. The

  Outside Plaintiffs are entitled to summary judgment against the individual defendants.


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                                         CONCLUSION

                  For the foregoing reasons, the Moving Plaintiffs’ motion should be granted in

  all respects.

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